     Case 5:20-cv-01339-RAO Document 23 Filed 09/24/21 Page 1 of 2 Page ID #:674



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 9                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                 EASTERN DIVISION
11
     YOLANDA CATALINA MILLER, )                          EDCV 20-01339 RAO
                                     )
12
                      Plaintiff,     )                   ORDER AWARDING EAJA FEES
                                     )
13
                 v.                  )
                                     )
14
     KILOLO KIJAKAZI1, Acting        )
     Commissioner of Social Security )
     Administration,                 )
15                                   )
                      Defendant.     )
16
     ______________________________ )
17
            Based upon the parties’ Stipulation for Award and Payment of Equal Access
18
     to Justice Act (EAJA) Fees (“Stipulation”),
19
            IT IS ORDERED that Plaintiff shall be awarded attorney fees under the
20
     Equal Access to Justice Act, ("EAJA”) in the amount of THREE THOUSAND
21
     FIVE HUNDRED NINETY-EIGHT DOLLARS and 81/cents ($3,598.81), as
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                    1
                      Kilolo Kijakazi is now the Acting Commissioner of the Social Security
26   Administration. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi
     should be substituted for Commissioner Andrew M. Saul as the defendant in this suit. No further
27   action needs to be taken to continue this suit by reason of the last sentence of section 205(g) of
     the Social Security Act, 42 U.S.C. § 405(g).
28
     Case 5:20-cv-01339-RAO Document 23 Filed 09/24/21 Page 2 of 2 Page ID #:675



 1
     authorized by 28 U.S.C. § 2412 (d), and subject to the terms and conditions of the
 2
     Stipulation.
 3
     DATED: September 24, 2021
 4                                         __________________________________
 5                                         HONORABLE ROZELLA A. OLIVER
                                           UNITED STATES MAGISTRATE JUDGE
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